                 Case
%AC) 247 (02/08) Order   6:06-cr-00026-JRH-BKE
                       Regarding Motion for Sentence Reduction   Document 848 Filed 09/09/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                    forthe
                                                         Southern District of Georgia
                                                            Statesboro Division
                    United States of America                         )                                      .

                                                                      ) Case No: CR6ö092.6
                       Ramon Antonio Kelly
                                                                      ) IJSMNo: 12991-b2.1.              . .
Date of Previous Judgment: December 10, 2007                          ) Charles Cook
(Use Date of Last Amended Judgment if Applicable)                     ) t)efendaiit's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant [lithe Director of the Bureau of Prisons LJthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the l ast judgment issued) of __________________ months is reduced to ___________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        29               Amended Offense Level:      29
Criminal History Category:     VJ               Criminal History Category:  VI
Previous Guideline Range:  151   to 188 months  Amended Guideline Range: 151 to 1 88 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
[J The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
[l Other (explain):




III. ADDITIONAL COMMENTS

The Court notes that this defendant is a career offender, pursuant to U.S.S.G. § 4B1.1. The amendment to the crack
cocaine guideline does not impact this defendant's guideline computations tbr that reason.


Except as provided above, all provisions of the judgment dated ____________________ shall remain in effect.
IT IS SO ORDERED.

                                          or
Order Date:
                                                                        1/'
                                                                        B. Avant Edenfield
Effective Date:                                                         United States District Judge
                   ______________________                               For the Southern District of Georgia
                    (if different from order date)                                           Printed name and title
